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    UNITED STATES BANKRUPTCY COURT                                HEARING DATE: September 17, 2008
    SOUTHERN DISTRICT OF NEW YORK                                 HEARING TIME: 9:30 a.m.
    --------------------------------------------------------- x
    In Re:                                                    :
                                                              :   Case No. 08-12667 (AJG)
    BOAZ BAGBAG,                                              :
                                                              :   Chapter 7
                                          Debtor.             :
                                                              :
    --------------------------------------------------------- x

                                    NOTICE OF HEARING

             PLEASE TAKE NOTICE that upon the annexed Application, Diana G.

   Adams, the United States Trustee for Region 2, will move this Court before the

   Honorable Arthur J. Gonzalez, United States Bankruptcy Judge, at the Alexander

   Hamilton Custom House, One Bowling Green, New York, New York 10004, on

   September 17, 2008 at 9:30 a.m., for approval of a Stipulation and Proposed Order

   (the “Stipulation”) Dismissing the Chapter 7 Case of Boaz Bagbag with prejudice for

   eighteen months pursuant to 11 U.S.C. § 707(a). The Application and the Stipulation

   are on file with the Clerk of the Bankruptcy Court and can also be obtained from the

   Office of the United States Trustee, at 33 Whitehall Street, 21st Floor, New York,

   New York 10004-2112, attention: Greg M. Zipes, Esq.

             PLEASE TAKE FURTHER NOTICE that any responsive papers should be

    filed with the Court and personally served on the United States Trustee, at 33

    Whitehall Street, 21st Floor, New York, New York 10004-2112, to the attention of

    Greg M. Zipes, Esq., no later than three (3) days prior to the return date set forth

    above.
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           Such papers shall conform to the Federal Rules of Civil Procedure and

    identify the party on whose behalf the papers are submitted, the nature of the

    response, and the basis for such response.

   Dated: New York, New York
          August 8, 2008

                                          DIANA G. ADAMS
                                          UNITED STATES TRUSTEE

                                  By:     /s/ Greg M. Zipes
                                          Greg M. Zipes
                                          Trial Attorney
                                          33 Whitehall Street, 21st Floor
                                          New York, New York 10004
                                          Tel. No. (212) 510-0500
                                          Fax. No. (212) 668-2255




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    UNITED STATES BANKRUPTCY COURT
    SOUTHERN DISTRICT OF NEW YORK
    --------------------------------------------------------- x
    In Re:                                                    :
                                                              :   Case No. 08-12677 (AJG)
    BOAZ BAGBAG,                                              :
                                                              :   Chapter 7
                                          Debtor.             :
                                                              :
    --------------------------------------------------------- x


    APPLICATION OF THE UNITED STATES TRUSTEE FOR APPROVAL
    OF STIPULATION AND PROPOSED ORDER DISMISSING DEBTOR’S
                        CHAPTER 7 CASE

   TO: THE HONORABLE ARTHUR J. GONZALEZ,
       UNITED STATES BANKRUPTCY JUDGE:

            Diana G. Adams, the United States Trustee for Region 2 (the “United States

   Trustee”), hereby moves this Court for approval of the Stipulation and Proposed Order

   (the “Stipulation”) for dismissal of the Chapter 7 bankruptcy case of Boaz Bagbag (the

   “Debtor”) with prejudice for an eighteen month period, annexed hereto as Exhibit A. In

   support of this motion to dismiss (the “Dismissal Motion”), the United States Trustee

   represents and alleges as follows:

                                                 Introduction

            The United States Trustee requests that the Court approve a Stipulation entered

   into between the United States Trustee and the Debtor, who is represented by counsel, in

   which the parties agree that this Chapter 7 case will be dismissed with prejudice for a

   period of eighteen months. There are several reasons why the Stipulation should be

   approved. To begin with, the Debtor has not filed schedules or a B22 Means Test Form.

   The filing of these documents is a statutory requirement and the failure to timely file
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   them not only deprives creditors of the ability to learn about the Debtor’s financial

   wherewithal, but results in a dismissal of the case.

             Moreover, as discussed below, there are sufficient facts to demonstrate that

   dismissal with prejudice is appropriate. Specifically, the Debtor, while in Chapter 7,

   appears to have improperly transferred approximately $10,000 to $15,000 of estate assets

   to a corporation called Pace Products Solutions, Inc. (the “Pace Debtor”). The Pace

   Debtor filed for Chapter 11 relief on the same date that the Debtor filed the instant case.

   The monies that the Debtor transferred to Pace do not appear to have been disclosed by

   the Debtor in this case, particularly in view of the fact that no schedules or other

   documents have been filed. If the funds transferred by the Debtor to Pace were received

   by the Debtor prior to the filing date, the funds would be property of the estate and should

   therefore not have been transferred absent court order. Therefore, dismissal with

   prejudice is appropriate based on the failure of the Debtor to provide information relating

   to his financial condition in connection with the filing of the Chapter 7 petition in this

   case, coupled with the Debtor’s conduct suggestive of an improper transfer of estate

   assets.

                                                Facts

             1.     On July 10, 2008 (the “Filing Date”), Boaz Bagbag (the “Debtor”)

   commenced this bankruptcy case by filing a voluntary chapter 7 petition. See ECF Doc.

   No. 1. The Debtor was represented by counsel throughout the duration of this case.

             2.     The Debtor failed to file schedules of assets and liabilities, a statement of

   financial affairs and a means-test form (form B-22A) (collectively, the “Schedules”).




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          3.       Alan Nisselson, Esq. (the “Trustee”) was appointed interim trustee and

   thereafter became permanent trustee pursuant to section 702(d) of the Bankruptcy Code.

          4.       The initial meeting of creditors, pursuant to 11 U.S.C. § 341, is scheduled

   for August 14, 2008.

          The Pace Products Solutions, Inc. Case

          5.       The Debtor is the principal of a debtor entitled In re Pace Products

   Solutions, Inc., Case No. 08-12666 (MG), which filed a voluntary Chapter 11 case on the

   Filing Date. The Pace Debtor did not indicate on its petition that the Pace Debtor is

   affiliated with the Debtor herein and, therefore, the Pace Debtor’s case was assigned to

   another judge, the Honorable Martin Glenn. A copy of Pace Debtor’s petition is attached

   as Exhibit B.

          6.       The Pace Debtor’s case has been converted to one under Chapter 7 of the

   Bankruptcy Code on July 24, 2008, upon the motion of the United States Trustee. A

   copy of the United States Trustee’s motion is attached as Exhibit C.

          7.       At a hearing in the Pace Debtor’s case on July 21, 2008 (the “July

   Hearing”), the Debtor acknowledged that he used personal funds after the Filing Date to

   fund the Pace Debtor. A copy of transcript from the July Hearing is attached as Exhibit

   D.

          Events After The Conversion of the Pace Products Case

          8.       On August 8, 2008, the Debtor and Debtor’s counsel executed the

   Stipulation, consenting to the dismissal of the Debtor’s case, under 11 U.S.C. §§

   305(a)(1), 707(a)-(b), with prejudice for an eighteen month period in order to resolve all




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   issues concerning the potential dismissal of the Debtor=s case under 11 U.S.C. § 707(b)

   and denial of discharge under 11 U.S.C. § 727. See Exhibit A.

                                            Argument

          9.      The Debtor has not filed the Schedules and so he should not receive his

   discharge. Section 521(a)(1) of the Bankruptcy Code provides that the debtor shall file a

   list of creditors and, unless the court orders otherwise:

                  (i) a schedule of assets and liabilities;
                  (ii) a schedule of current income and current expenditures;
                  (iii) a statement of the debtor's financial affairs ...;
                  (iv) copies of all payment advices or other evidence of payment received
                  within 60 days before the date of the filing of the petition, by the debtor
                  from any employer of the debtor;
                  (v) a statement of the amount of monthly net income, itemized to show
                  how the amount is calculated; and
                  (vi) a statement disclosing any reasonably anticipated increase in income
                  or expenditures over the 12-month period following the date of the filing
                  of the petition.

   11 U.S.C. § 521(a)(1)(B).

          10.     The consequence of a debtor's failure to file these documents is severe. If

   a debtor fails to file all of the information required by § 521(a)(1) within 45 days of filing

   the bankruptcy petition, “the case shall be automatically dismissed effective on the 46th

   day after the date of the filing of the petition.” 11 U.S.C. § 521(i)(1). In re Warren, No.

   06-10697, 2007 WL 1079943 (Bankr. N.D. Cal. Apr. 9, 2007), rev'd sub nom. Warren v.

   Wirum, 378 B.R. 640 (N.D. Cal. 2007) (finding dismissal is automatic if the debtor fails

   to file pay advices and other documentation within the 45 day period).




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           11.     Section 707(a) provides for a separate avenue to dismiss a case, including:

           (3) failure of the debtor in a voluntary case to file, within fifteen days or
           such additional time as the court may allow after the filing of the petition
           commencing such case, the information required by paragraph (1) of
           section 521, but only on the motion of the United States Trustee.

   11 U.S.C. § 707(a)(3)(emphasis added.)

           12.     In this case, the Debtor failed to file his Schedules within 15 days of the

   Filing Date. The case should be dismissed under 11 U.S.C. § 707(a)(3). The Debtor has

   failed to take any steps to disclose his financial affairs in this case.

           13.     Further, as demonstrated in the Pace Debtor’s case, the Debtor appears to

   have improperly used property of the estate. His personal funds, which he acknowledged

   using in the Pace Debtor’s case, would constitute property of the estate if he received

   these funds prior to the Filing Date. Because of this, the United States Trustee requested

   that the Debtor sign the Stipulation dismissing his case with prejudice.

           14.     On August 6, 2008, certain creditors filed a motion requesting a

   Bankruptcy Rule 2004 order (the “2004 Application”), alleging that the Debtor has been

   involved in certain “scams.” See 2004 Application at par. 9. The 2004 Application is on

   for presentment on August 22, 2008. The United States Trustee is requesting a hearing

   date of the Dismissal Motion in mid-September 2008 with a view to allow a reasonable

   amount of time for the discovery to go forward and for the creditors to present such facts

   as they deem appropriate in response to the Dismissal Motion.

           15.     Further, as a condition to the Stipulation, the United States Trustee

   requested that the Debtor provide a full list of creditors, a copy of which is attached as

   Exhibit E. The United States Trustee is serving the Dismissal Motion on all the creditors




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   appearing in the Pace Debtor’s case and this case, and notice only upon all other

   creditors.

          WHEREFORE, the United States Trustee requests the Court’s approval of the

   Stipulation and the dismissal of the Debtor’s case.

   Dated: New York, New York
           August 8, 2008

                                          DIANA G. ADAMS
                                          UNITED STATES TRUSTEE

                                  By:     /s/ Greg M. Zipes
                                          Greg M. Zipes
                                          Trial Attorney
                                          33 Whitehall Street, 21st Floor
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